Case 1:90-cr-01019-DLI Document 454-4 Filed 02/15/17 Page 1 of 3 PageID #: 2444




                           Exhibit D
Case 1:90-cr-01019-DLI Document 454-4 Filed 02/15/17 Page 2 of 3 PageID #: 2445




To whom it may concern,

        I'm the oldest and Joseph is the youngest of three siblings. We're about six years
apart and were all born in Taipei, Taiwan.
        When we were growing up, our father worked as a project manager for one of the
'biggest construction companies in Taiwan up until his retirement. Our mother taught at
a fashion institution while owning her own custom tailor business.
        In August 1982, my brother William and I came to the US with our parents.
Joseph was left to stay at our Aunt's house. After the company that our mother worked
for decided to sponsor her, our parents decided to stay in the US and buy a house.
        After a few months had passed, our father went back to Taiwan to take care of
family assets, his retirement, and to apply for visa to reunite Joseph with the family.
        Joseph had been apart from the family for a total of a year at just the age of nine.
He had to endure the mental and emotional toll of being moved from school to school,
country to country, while spending hardly any time with his family.
        This dramatic change in lifestyle would more than likely negatively affect a kid's
well-being, especially if they had once grown up in a very stable environment.
        A year after Joseph was finally joined with the family in the US, our mother was
diagnosed with cancer. She passed away a week before my high school graduation,
when Joseph was about twelve years old. Her death caused tremendous stress on us
and our father.
        We felt like our home was gone forever. I had lost 101bs in only a month and
Joseph became very quiet. Through my father's sadness, he considered moving us all
back to Taiwan.
        Shortly after our mother's funeral, I had a feeling that my brothers were hanging
around the wrong crowd. William got himself out early enough to where he wasn't
followed with the negative consequences. But Joseph rarely ever came home after our
father had had his say about it.
        Throughout the years, until our father passed away, Joseph sent letters and
greeting cards to our father on a regular basis. Due to our father's health condition,
 William and I thought it best not to let him know the details of Joseph's situation. Of
course, our father worried a lot in the beginning, but he eventually found peace in
Joseph's reassuring words. Joseph put in the effort to explain how he was working hard
to self-reflect and improve himself.
        Afters all these years, he has done whatever he could to be a good son, brother,
and uncle. William and I have tried to support him in any way we can. He even became
a vegetarian and took to our family religion after our father passed away in 1998. As if it
 was his own way of honoring our father for the rest of his own life.
Case 1:90-cr-01019-DLI Document 454-4 Filed 02/15/17 Page 3 of 3 PageID #: 2446




        While making many attempts to appeal his case throughout the years, he, by his
 own will, took actions to make self improvements. He worked on expanding his skills in
 reading and writing with both English and Chinese, gained knowledge in relevant
 modern day subjects like business/finance and technology,etc. But most importantly, he
 has discovered key things about himself that symbolize who he is, like most of us do
 when we grow through life. He is a self-made artist, who has contributed to charities by
 volunteering to donate the profits of his paintings.
        For one of the many lost teenagers that have existed in the world, I believe that
 he has served enough time and has proved himself to be who he really is as an adult,
 regardless of the ongoing hardships he went through as a child.
        I'm confident that he would be swell-functioning member of society if the court
 gives him a chance to build a iiie.




                                        Sincerely,




                                       Yi Fei Wang
